Case 2:07-cr-00856-CCC           Document 58        Filed 03/13/09      Page 1 of 1 PageID: 290




NOT FOR PUBLICATION

                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

                                             :
UNITED STATES OF AMERICA,                    :        Hon. Dennis M. Cavanaugh
                                             :
               Plaintiff,                    :                ORDER
                                             :
                     v.                      :        Crim. No.07-856 (DMC)
                                             :
ARTHUR GILBERT and ALBERT                    :
GILBERT,                                     :
                                             :
               Defendants.                   :
                                             :


DENNIS M. CAVANAUGH, U.S.D.J.:

       This matter comes before the Court upon motion by Defendants Arthur Gilbert and Albert

Gilbert (“Defendants”) for a judgment of acquittal pursuant to Fed. R. Crim. P. 29; after hearing oral

argument and reviewing all submissions; and for the reasons stated in its Opinion issued on this day;

       IT IS on this 13th day of March, 2009;

       ORDERED that Defendants’ motion for a judgment of acquittal is denied.



                                                      S/ Dennis M. Cavanaugh
                                                      Dennis M. Cavanaugh, U.S.D.J.

Original:      Clerk
cc:            All Counsel of Record
               Hon. Mark Falk, U.S.M.J.
               File
